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10
                      IN THE UNITED STATES DISTRICT COURT
11
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   ERIN L. PERRY, individually, and       Case No.
     on behalf of other members of the
14   general public similarly situated,     CLASS ACTION COMPLAINT
15                Plaintiff,                (1) Violation of Unfair Competition
                                                Law (Cal. Business & Professions
16         vs.                                  Code §§ 17200 et seq.);
                                            (2) Violation of Unfair Competition
17   MLB ADVANCED MEDIA, L.P.,                  Law (Cal. Business & Professions
     DBA MLB.COM, and DOES 1-10,                Code §§ 17500 et seq.); and
18   inclusive,                             (3) Violation of Consumer Legal
                                                Remedies Act (Cal. Civ. Code
19                Defendants.                   §§ 1750 et seq.).
20
                                            Jury Trial Demanded
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                                   CLASS ACTION COMPLAINT
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 1         Plaintiff Erin L. Perry (“Plaintiff”), individually and on behalf of all other
 2   members of the public similarly situated, allege as follows:
 3                             NATURE OF THE ACTION
 4         1.     Plaintiff brings this class action Complaint against Defendant MLB
 5   Advanced Media, L.P., dba MLB.com, (hereinafter “Defendant”) to stop
 6   Defendant’s practice of falsely advertising a full year of MLB Prime (“Class
 7   Product”) for an introductory price of $79.99 that it has no intention to provide,
 8   and in fact did not provide, and to obtain redress for a nationwide class of
 9   consumers (“Class Members”) who purchased the Class Product within the
10   applicable statute of limitations period as a result of Defendant’s false and
11   misleading advertisements.
12         2.     Defendant is a corporation with principal place of business in New
13   York City and state of incorporation in New York and is engaged in the sale and
14   distribution of communication and media devices, internet and television services.
15         3.     Defendant represented that for the introductory price of $79.99,
16   consumers would receive a full year subscription to MLP Prime, when in fact
17   Defendant did not and had no intention to provide consumers with a full year of
18   MLB Prime for such price.
19         4.     Plaintiff and others similarly situated purchased the Class Product
20   from Defendant.
21         5.     Defendant’s misrepresentations and/or omissions to Plaintiff and
22   others similarly situated caused them to purchase the Class Product, which
23   Plaintiff and others similarly situated would not have purchased absent the
24   misrepresentations and/or omissions by Defendant and its employees. In so doing,
25   Defendant has violated California consumer protection statutes.
26       NATURE OF THE CASE & COMMON ALLEGATIONS OF FACT
27         6.     Consumers purchased a full year subscription to MLP Prime
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 1   advertised at the introductory rate of $79.99.
 2         7.     Consumers rely on the representations and advertisements of retailers
 3   in order to know which programs and services to purchase based on availability
 4   and cost. Cost and terms of service are important and material to consumers at the
 5   time they sign up for services with a particular media provider, as consumers are
 6   sensitive to costs they pay for these programs and services, compared to what they
 7   could purchase from a competitive service provider.
 8         8.     Defendant is engaged in the manufacture, marketing, supplying, and
 9   distributing television and internet products and services that are accompanied by
10   deceptive advertising and billing practices that are not disclosed at the time
11   consumers purchase goods and/or sign up for services.
12         9.     When consumers purchase goods and sign up for services with an
13   internet and television media service provider, they reasonably believe that they
14   will be billed in a transparent manner and will not be overbilled at the time they
15   agree to initiate a relationship with the service provider.
16         10.    Defendant profits from the sale of internet and television media
17   products and services. With deceptive advertising and billing practices, many of
18   the consumers would not have purchased or attempted to purchase these television
19   or internet media services, or would have chosen to purchase goods and/or services
20   from a competitor.
21         11.    In Plaintiff’s case, the billing practices that Defendant engaged were
22   anything except for transparent, rather, they were quite deceptive.
23         12.    Defendant misrepresents that consumers would only billed $79.99,
24   for a full year’s subscription to MLB Prime, when in fact consumers were billed
25   more than the amount represented for a single year of MLP Prime.
26         13.    Defendant does not present consumers with a written copy of the
27   correct terms of the purchase prior to purchase, in order to conceal the deception
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 1   that is at issue in this case.
 2          14.    Defendant makes written and oral representations to consumers
 3   which contradict the actual billing practices of the television and internet media
 4   services that will be used by Defendant after the consumer signs up for service.
 5          15.    The aforementioned written and oral representations are objectively
 6   false, and constitute a false advertisement under Cal. Civ. Code §§ 1750 et. seq.,
 7   and Cal. Bus. & Prof. Code §§ 17500 et. seq., and an unlawful, unfair, or deceptive
 8   business practices under Cal. Bus. & Prof. Code §§ 17200 et. seq.
 9          16.    Defendant’s violations of the law include, but not limited to, the false
10   advertising, marketing, representations, and sale of the Class Product to consumers
11   in California and nationwide.
12          17.    On behalf of the class and subclass, Plaintiff seeks an injunction
13   requiring Defendant to cease advertising and selling the Class Product and an
14   award of damages to the Class Members, together with costs and reasonable
15   attorneys’ fees.
16                              JURISDICTION AND VENUE
17          18.    This class action is brought pursuant to Federal Rule of Civil
18   Procedure 23. All claims in this matter arise exclusively under California law.
19          19.    This matter is properly venued in the United States District Court for
20   the Central District of California, in that Plaintiff purchased the services from
21   Ventura County and Defendant provided the services to Plaintiff in that location.
22   Plaintiff resides in the Central District of California and Defendant does business,
23   inter alia, in the Central District of California.
24          20.    There is original federal subject matter jurisdiction over this matter
25   pursuant to the Class Action Fairness Act of 2005, Pub. L. 109-2, 119 Stat. 4 (Feb.
26   18, 2005), by virtue of 28 U.S.C. §1332(d)(2), which explicitly provides for the
27   original jurisdiction of federal courts in any class action in which at least 100
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 1   members are in the proposed plaintiff class, any member of the plaintiff class is a
 2   citizen of a State different from the State of citizenship of any defendant, and the
 3   matter in controversy exceeds the sum of $5,000,000.00, exclusive of interests and
 4   costs.
 5            21.   In the case at bar, there are at least 100 members in the proposed Class
 6   and Sub-classes, the total claims of the proposed Class members are in excess of
 7   $5,000,000.00 in the aggregate, exclusive of interests and costs, and Plaintiff seeks
 8   to represent a nationwide class of consumers, establishing minimum diversity.
 9                                      THE PARTIES
10            22.   Plaintiff Erin L. Perry is a citizen and resident of the State of
11   California, County of Ventura.
12            23.   Defendant MLB Advanced Media, L.P., dba MLB.com, (hereinafter
13   “Defendant”) is a corporation company with its principle place of business located
14   and headquartered in New York City. Defendant’s State of Incorporation is in
15   New York.
16            24.   Plaintiff is informed and believes, and thereon alleges, that each and
17   all of the acts and omissions alleged herein were performed by, or is attributable
18   to, Defendant and/or its employees, agents, and/or third parties acting on its behalf,
19   each acting as the agent for the other, with legal authority to act on the other’s
20   behalf. The acts of any and all of Defendant’s employees, agents, and/or third
21   parties acting on its behalf, were in accordance with, and represent, the official
22   policy of Defendant. Plaintiff alleges, on information and belief, that Defendant’s
23   marketing campaigns, as pertains to this matter, were created by Defendant at its
24   principle place of business in New York City, and were disseminated from New
25   York, nationwide.
26            25.   Plaintiff is informed and believes, and thereon alleges, that said
27   Defendant is in some manner intentionally, negligently, or otherwise responsible
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 1   for the acts, omissions, occurrences, and transactions of each and all its employees,
 2   agents, and/or third parties acting on its behalf, in proximately causing the
 3   damages herein alleged.
 4         26.     Plaintiff is informed and believes, and thereon alleges, that at all time
 5   relevant, Defendant’s sales of products and services are governed by the
 6   controlling law in the state in which they do business and from which the sales or
 7   products and services, and the allegedly unlawful acts originated, which is
 8   California.
 9         27.     At all relevant times, Defendant ratified each and every act or
10   omission complained of herein. At all relevant times, Defendant, aided and
11   abetted the acts and omissions as alleged herein.
12                                 PLAINTIFF’S FACTS
13         28.     In or around July of 2016, Plaintiff saw and/or received in the mail
14   Defendant’s advertisement, advertising a full year subscription to MLB Prime for
15   an introductory rate of $79.99 (“Ad”). As a result of Defendant’s Ad, Plaintiff
16   decided to take advantage of the introductory offer of $79.99, and spoke to
17   Defendant’s agent, who assured Plaintiff that she would receive a full year of MLB
18   Prime for the introductory rate of $79.99.
19         29.       Plaintiff enjoyed and used the Class Product until March 3, 2017,
20   when Defendant automatically renewed Plaintiff’s subscription to the Class
21   product for $112.99, approximately four (4) months shy on the full year Plaintiff
22   previously purchased and paid for in July of 2016 for $79.99.
23         30.     Plaintiff called Defendant and requested that she be refunded for the
24   four (4) months she was doubled billed when Defendant decided to renew her
25   subscription to MLB Prime on March 3, 2017, without notice or consent.
26   Defendant never responded.
27         31.     For the service plan, Plaintiff paid more than valuable consideration.
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 1   Plaintiff relied on the fact that the service plan was being advertised for a particular
 2   price and would be provided for a specific period of time, by express statements
 3   or material omissions, that billing would be done clearly and accurately at the time
 4   of her purchase. Plaintiff was never informed, in writing, orally, or in any
 5   conspicuous manner, that she would be charged more for the service after she paid
 6   said charges.
 7         32.    Plaintiff alleges that such representations were part of a common
 8   scheme to mislead consumers and incentivize them to purchase the Class Product
 9   in spite of the fact that Defendant had no intention to and did not provide the Class
10   Product for the period represented.
11         33.    Plaintiff felt ripped off and cheated by Defendant, for being charged
12   and billed for charges that were not authorized or conspicuously disclosed.
13   Plaintiff believes that Defendant will continue its action of duping customers in
14   the same way unless Defendant’s practices are halted by way of an injunction.
15         34.    Defendant’s representation, through statements and omissions, that
16   consumers would only be billed an introductory rate of $79.99 for a full year of
17   MLP Prime constitute fraudulent affirmative misrepresentations of material fact
18   that would be important to reasonable consumers when deciding between different
19   internet and television media service providers.
20         35.    That is, had consumers, including Plaintiff, known that Defendant
21   misrepresents is billing practices, then Plaintiff would never have purchased
22   Defendant’s services.
23         36.    Plaintiff alleges on information and belief that Defendant’s policy and
24   practice is to materially misrepresent the price of its services, through said
25   fraudulent omissions and misrepresentations, to induce consumers to reasonably
26   rely on the price of service, in order to induce their purchase of services from
27   Defendant over law abiding competitors.
28

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 1         37.    Defendant has a duty to disclose the full cost of services, including
 2   the timing and amount of renewal fees, to consumers, prior to the time that they
 3   agree to purchase services from Defendant. Defendant has a duty to disclose these
 4   material terms, because such terms would be highly important to a reasonable
 5   consumer, because a failure to disclose such terms would have the effect of
 6   drastically and unexpectedly elevating the price of Defendant’s services for
 7   consumers, and because Defendant binds consumers to contracts of terms, thereby
 8   preventing consumers from easily getting out of their obligations with Defendant.
 9         38.    Upon learning that Defendant was charging her excessively, Plaintiff
10   felt ripped off and cheated by Defendant.
11         39.    Such tactics rely on falsities and have a tendency to mislead and
12   deceive a reasonable consumer.
13         40.    Defendant expressly represented to Plaintiff, through written
14   statements, the price of its products and services.
15         41.    Plaintiff alleges that such representations were part of a common
16   scheme to mislead consumers and incentivize them to purchase internet and
17   television media services.
18         42.    In purchasing the Class Product, Plaintiff relied upon Defendant’s
19   representations.
20         43.    Such representations were clearly false because the price of the
21   products and terms of the services offered by Defendant were at a higher rate and
22   of a different nature than represented.
23         44.    Plaintiff would not have purchased the products and services if she
24   knew that the above-referenced statements made by Defendant were false.
25         45.    Had Defendant properly marketed, advertised, and represented the
26   Class Product, Plaintiff would not have purchased the products and services.
27         46.    Plaintiff agreed to give her money, attention and time to Defendant
28

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 1   because of the price that the internet and television media service was advertised.
 2   Defendant benefited from falsely advertising the prices of the service. Defendant
 3   benefited on the loss to Plaintiff and provided nothing of benefit to Plaintiff in
 4   exchange.
 5         47.    Had Defendant properly marketed, advertised, and represented the
 6   Class Product, no reasonable consumer who purchased or attempted to purchase
 7   the internet and television media services would have believed that it was the price
 8   and nature it actually was.
 9         48.    On information and belief, thousands of consumers have issued
10   complaints online about similar experiences with Defendant charging them
11   undisclosed rates, and attempting to bill them more than they agreed to pay for
12   services. It is this practice that Plaintiff seeks to put an end to, and recover
13   compensation for class members.
14         49.    Defendant’s conduct is inherently deceptive and misleads the least-
15   sophisticated consumer, as it is it is plausible that an unsophisticated consumer
16   would believe that they owed debts for renewal, and other related charges, even
17   though such amounts were never conspicuously disclosed at the point of sale, and
18   even though Defendant makes representations to consumers that would lead a
19   consumer to believe that such amounts were not owed.
20         50.    Defendant’s acts and omissions were intentional, and resulted from
21   Defendant’s desire to mislead consumers into making payments that are not owed.
22                          CLASS ACTION ALLEGATIONS
23         51.    Plaintiff brings this action, on behalf of herself and all others similarly
24   situated, and thus, seeks class certification under Federal Rule of Civil Procedure
25   23.
26         52.    The class Plaintiff seeks to represent the Class and Subclass as
27   defined as follows:
28

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                   Class
  1
                   All consumers nationwide, who, between the applicable
  2                statute of limitations and the present, purchased the Class
                   Product, and were charged renewal fees for terms of
  3                service other than what was advertised or represented by
                   Defendant.
  4
                   Subclass
  5
                   All California consumers, who, between the applicable
  6                statute of limitations and the present, purchased the Class
                   Product, and were charged renewal fees for terms of
  7                service other than what was advertised or represented by
                   Defendant.
  8

  9         53.    As used herein, the term “Class Members” shall mean and refer to the
 10   members of the Class and Subclass described above.
 11         54.    Excluded from the Class and Subclass are Defendant, its affiliates,
 12   employees, agents, and attorneys, and the Court.
 13         55.    Plaintiff reserves the right to amend the Class and Subclass, and to
 14   add additional subclasses, if discovery and further investigation reveals such
 15   action is warranted.
 16         56.    Upon information and belief, the proposed Class and Subclass is
 17   composed of thousands of persons. The members of the Class and Subclass are
 18   so numerous that joinder of all members would be unfeasible and impractical.
 19         57.    No violations alleged in this complaint are contingent on any
 20   individualized interaction of any kind between Class Members and Defendant.
 21         58.    Rather, all claims in this matter arise from the identical, false,
 22   affirmative written statements that the services would be provided for Class
 23   Members’, when in fact, such representations were false.
 24         59.    There are common questions of law and fact as to the Class Members
 25   that predominate over questions affecting only individual members, including but
 26   not limited to:
 27                (a)     Whether Defendant engaged in unlawful, unfair, or deceptive
 28

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  1                        business practices in selling the Class Product to Plaintiff and
  2                        other Class Members;
  3                  (b)   Whether Defendant made misrepresentations with respect to
  4                        the cost, or quality of Class Product to consumers;
  5                  (c)   Whether Defendant profited from the sale of the goods and
  6                        services;
  7                  (d)   Whether Defendant violated California Bus. & Prof. Code §
  8                        17200, et seq., California Bus. & Prof. Code § 17500, et seq.,
  9                        and California Civ. Code § 1750, et seq.;
 10                  (e)   Whether Plaintiff and Class Members are entitled to equitable
 11                        and/or injunctive relief;
 12                  (f)   Whether Defendant’s unlawful, unfair, and/or deceptive
 13                        practices harmed Plaintiff and Class Members; and
 14                  (g)   The method of calculation and extent of damages for Plaintiff
 15                        and Class Members.
 16         60.      Plaintiff is a member of the class and subclass she seeks to represent
 17         61.      The claims of Plaintiff are not only typical of all class members, they
 18   are identical.
 19         62.      All claims of Plaintiff and the class and subclass are based on the
 20   exact same legal theories.
 21         63.      Plaintiff has no interest antagonistic to, or in conflict with, the class
 22   or subclass.
 23         64.      Plaintiff is qualified to, and will, fairly and adequately protect the
 24   interests of each Class Member, because Plaintiff relied upon Defendant’s
 25   advertisements and representations and purchased the Class Products from
 26   Defendant during the Class Period.             Defendant’s unlawful, unfair and/or
 27   fraudulent actions concerns the same business practices described herein
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  1   irrespective of where they occurred or were experiences. Plaintiff’s claims are
  2   typical of all Class Members as demonstrated herein.
  3         65.    Plaintiff will thoroughly and adequately protect the interests of the
  4   class and subclass, having retained qualified and competent legal counsel to
  5   represent himself and the class.
  6         66.    Common questions will predominate, and there will be no unusual
  7   manageability issues.
  8                              FIRST CAUSE OF ACTION
  9                  Violation of the California False Advertising Act
 10                         (Cal. Bus. & Prof. Code §§ 17500 et seq.)
 11         67.    Plaintiff incorporates by reference each allegation set forth above.
 12         68.    Pursuant to California Business and Professions Code section 17500,
 13   et seq., it is unlawful to engage in advertising “which is untrue or misleading, and
 14   which is known, or which by the exercise of reasonable care should be known, to
 15   be untrue or misleading . . . [or] to so make or disseminate or cause to be so made
 16   or disseminated any such statement as part of a plan or scheme with the intent not
 17   to sell that personal property or those services, professional or otherwise, so
 18   advertised at the price stated therein, or as so advertised.”
 19         69.    California Business and Professions Code section 17500, et seq.’s
 20   prohibition against false advertising extends to the use of false or misleading
 21   written statements.
 22         70.    Defendant misled consumers by making misrepresentations and
 23   untrue statements about the Class Product, namely, Defendant A full year of MLB
 24   Prime services at a higher rate than advertised and charged them for more than
 25   what they owed and billed in a deceptive manner, and made false representations
 26   to Plaintiff and other putative class members in order to solicit these transactions.
 27         71.    Defendant knew that its representations and omissions were untrue
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  1   and misleading, and deliberately made the aforementioned representations and
  2   omissions in order to deceive reasonable consumers like Plaintiff and other Class
  3   Members.
  4         72.    As a direct and proximate result of Defendant’s misleading and false
  5   advertising, Plaintiff and the other Class Members have suffered injury in fact and
  6   have lost money or property, time, and attention. Plaintiff reasonably relied upon
  7   Defendant’s representations regarding the Class Product. In reasonable reliance
  8   on Defendant’s false advertisements, Plaintiff and other Class Members purchased
  9   the Class Product. In turn, Plaintiff and other Class Members ended up with
 10   services that turned out to actually be more expensive than advertised and for
 11   which they were billed in an unreasonable and deceptive manner, and therefore
 12   Plaintiff and other Class Members have suffered injury in fact.
 13         73.    Plaintiff alleges that these false and misleading representations made
 14   by Defendant constitute a “scheme with the intent not to sell that personal property
 15   or those services, professional or otherwise, so advertised at the price stated
 16   therein, or as so advertised.”
 17         74.    Defendant advertised to Plaintiff and other putative class members,
 18   through written representations and omissions made by Defendant and its
 19   employees that the Class Product would be of a particular price.
 20         75.    Thus, Defendant knowingly sold the Class Product to Plaintiff and
 21   other putative class members.
 22         76.    The misleading and false advertising described herein presents a
 23   continuing threat to Plaintiff and the Class Members in that Defendant persists and
 24   continues to engage in these practices, and will not cease doing so unless and until
 25   forced to do so by this Court. Defendant’s conduct will continue to cause
 26   irreparable injury to consumers unless enjoined or restrained. Plaintiff is entitled
 27   to preliminary and permanent injunctive relief ordering Defendant to cease its
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  1   false advertising, as well as disgorgement and restitution to Plaintiff and all Class
  2   Members Defendant’s revenues associated with their false advertising, or such
  3   portion of those revenues as the Court may find equitable.
  4                              SECOND CAUSE OF ACTION
  5                       Violation of Unfair Business Practices Act
  6                        (Cal. Bus. & Prof. Code §§ 17200 et seq.)
  7         77.     Plaintiff incorporates by reference each allegation set forth above.
  8         78.     Actions for relief under the unfair competition law may be based on
  9   any business act or practice that is within the broad definition of the UCL. Such
 10   violations of the UCL occur as a result of unlawful, unfair or fraudulent business
 11   acts and practices.    A plaintiff is required to provide evidence of a causal
 12   connection between a defendant's business practices and the alleged harm--that is,
 13   evidence that the defendant's conduct caused or was likely to cause substantial
 14   injury. It is insufficient for a plaintiff to show merely that the defendant's conduct
 15   created a risk of harm. Furthermore, the "act or practice" aspect of the statutory
 16   definition of unfair competition covers any single act of misconduct, as well as
 17   ongoing misconduct.
 18                                          UNFAIR
 19         79.     California Business & Professions Code § 17200 prohibits any
 20   “unfair     ... business   act   or   practice.”     Defendant’s acts, omissions,
 21   misrepresentations, and practices as alleged herein also constitute “unfair”
 22   business acts and practices within the meaning of the UCL in that its conduct is
 23   substantially injurious to consumers, offends public policy, and is immoral,
 24   unethical, oppressive, and unscrupulous as the gravity of the conduct outweighs
 25   any alleged benefits attributable to such conduct. There were reasonably available
 26   alternatives to further Defendant’s legitimate business interests, other than the
 27   conduct described herein. Plaintiff reserves the right to allege further conduct
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  1   which constitutes other unfair business acts or practices. Such conduct is ongoing
  2   and continues to this date.
  3         80.    In order to satisfy the “unfair” prong of the UCL, a consumer must
  4   show that the injury: (1) is substantial; (2) is not outweighed by any countervailing
  5   benefits to consumers or competition; and, (3) is not one that consumers
  6   themselves could reasonably have avoided.
  7         81.    Here, Defendant’s conduct has caused and continues to cause
  8   substantial injury to Plaintiff and members of the Class and Subclass. Plaintiff
  9   and members of the Class have suffered injury in fact due to Defendant’s decision
 10   to sell them internet and television media services falsely advertised at a particular
 11   price and for a particular term. Thus, Defendant’s conduct has caused substantial
 12   injury to Plaintiff and the members of the Class and Subclass.
 13         82.    Moreover, Defendant’s conduct as alleged herein solely benefits
 14   Defendant while providing no benefit of any kind to any consumer.               Such
 15   deception utilized by Defendant convinced Plaintiff and members of the Class and
 16   Subclass that Defendant a full year of the Class Product for an introductory price
 17   of $79.99. In fact, knowing that the above was false, Defendant unfairly profited
 18   in that Defendant knew that the Class Product was not of cost or quality it
 19   represented. Thus, the injury suffered by Plaintiff and the members of the Class
 20   and Subclass is not outweighed by any countervailing benefits to consumers.
 21         83.    Finally, the injury suffered by Plaintiff and members of the Class and
 22   Subclass is not an injury that these consumers could reasonably have avoided.
 23   After Defendant, falsely represented the cost and quality of the Class Product,
 24   these consumers suffered injury in fact due to Defendant’s sale of the Class
 25   Product to them, including charging renewal fees at a time and for an amount that
 26   Defendant misrepresented and/or omitted. Defendant failed to take reasonable
 27   steps to inform Plaintiff and Class Members of actual cost and terms of the service
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  1   provided.    As such, Defendant took advantage of Defendant’s position of
  2   perceived power in order to deceive Plaintiff and the Class members to purchase
  3   the Class Product for a price and terms higher to and different from what
  4   Defendant advertised and/or represented.           Therefore, the injury suffered by
  5   Plaintiff and members of the Class and Subclass is not an injury which these
  6   consumers could reasonably have avoided.
  7         84.    Thus, Defendant’s conduct has violated the “unfair” prong of
  8   California Business & Professions Code § 17200.
  9                                    FRAUDULENT
 10         85.    California Business & Professions Code § 17200 prohibits any
 11   “fraudulent ... business act or practice.” In order to prevail under the “fraudulent”
 12   prong of the UCL, a consumer must allege that the fraudulent business practice
 13   was likely to deceive members of the public.
 14         86.    The test for “fraud” as contemplated by California Business and
 15   Professions Code § 17200 is whether the public is likely to be deceived. Unlike
 16   common law fraud, a § 17200 violation can be established even if no one was
 17   actually deceived, relied upon the fraudulent practice, or sustained any damage.
 18         87.    Here, not only were Plaintiff and the Class members likely to be
 19   deceived, but these consumers were actually deceived by Defendant.              Such
 20   deception is evidenced by the fact that Plaintiff paid higher prices for lower quality
 21   goods and services other than what was advertised and/or represented. Plaintiff’s
 22   reliance upon Defendant’s deceptive statements is reasonable due to the unequal
 23   bargaining powers of Defendant and Plaintiff. For the same reason, it is likely that
 24   Defendant’s fraudulent business practice would deceive other members of the
 25   public.
 26         88.    As explained above, Defendant deceived Plaintiff and other Class
 27   Members by representing falsely represented the availability, cost, and quality of
 28

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  1   the goods and services sold.
  2          89.   Thus, Defendant’s conduct has violated the “fraudulent” prong of
  3   California Business & Professions Code § 17200.
  4                                     UNLAWFUL
  5          90.   California Business and Professions Code Section 17200, et seq.
  6   prohibits “any unlawful…business act or practice.”
  7          91.   As explained above, Defendant deceived Plaintiff and other Class
  8   Members by representing the consumers would receive a full year of MLB Prime
  9   for an introductory rate of $79.99.
 10          92.   Defendant used false advertising, marketing, and misrepresentations
 11   to induce Plaintiff and Class Members to pay higher prices for goods and services
 12   of a lower quality than what was advertised and represented, in violation of
 13   California Business and Professions Code Section 17500, et seq., and California
 14   Civil Code Section 1750, et seq. Had Defendant not falsely advertised, marketed
 15   or misrepresented the cost and quality of the Class Product, Plaintiff and Class
 16   Members would not have purchased the Class Product from Defendant and/or paid
 17   the higher price for the lower quality goods and services. Defendant’s conduct
 18   therefore caused and continues to cause economic harm to Plaintiff and Class
 19   Members.
 20          93.   These representations by Defendant are therefore an “unlawful”
 21   business practice or act under Business and Professions Code Section 17200 et
 22   seq.
 23          94.   Defendant has thus engaged in unlawful, unfair, and fraudulent
 24   business acts entitling Plaintiff and Class Members to judgment and equitable
 25   relief against Defendant, as set forth in the Prayer for Relief. Additionally,
 26   pursuant to Business and Professions Code section 17203, Plaintiff and Class
 27   Members seek an order requiring Defendant to immediately cease such acts of
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  1   unlawful, unfair, and fraudulent business practices and requiring Defendant to
  2   correct its actions.
  3                               THIRD CAUSE OF ACTION
  4                       Violation of Consumer Legal Remedies Act
  5                                (Cal. Civ. Code § 1750 et seq.)
  6         95.      Plaintiffs incorporate by reference each allegation set forth above
  7   herein.
  8         96.      Defendant’s actions as detailed above constitute a violation of the
  9   Consumer Legal Remedies Act, Cal. Civ. Code §1770 to the extent that Defendant
 10   violated the following provisions of the CLRA:
 11
                  a. Representing that goods or services have sponsorship, approval,
 12                  characteristics, ingredients, uses, benefits, or quantities which they do
 13
                     not have or that a person has a sponsorship, approval, status, affiliation,
                     or connection which he or he does not have. Cal. Civ. Code § 1770(5);
 14

 15
                  b. Advertising goods or services with intent not to sell them as advertised;
                     Cal. Civ. Code §1770(9);
 16

 17               c. Advertising goods or services with intent not to supply reasonably
                     expectable demand, unless the advertisement discloses a limitation of
 18                  quantity; Cal. Civ. Code §1770(10); and
 19
                  d. Representing that the consumer will receive a rebate, discount, or other
 20                  economic benefit, if the earning of the benefit is contingent on an event
 21                  to occur subsequent to the consummation of the transaction.; Cal. Civ.
                     Code §1770(17).
 22

 23         97.      Currently, pursuant to California Civil Code 1782(d), with respect
 24   only to Plaintiff’s CLRA claim, Plaintiff only seeks equitable and injunctive relief
 25   through the CLRA and not actual damages via the CLRA. Upon Defendant’s
 26   failure to rectify or agree to adequately rectify the problems associated with the
 27   actions detailed above, Plaintiff will amend her complaint to additionally seek
 28

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  1   damages, restitutionary relief, punitive damages, attorneys’ fees and costs, and any
  2   other relief available under section 1780(a) of the CRLA.
  3                                     MISCELLANEOUS
  4             98.   Plaintiff and Class Members allege that they have fully complied with
  5   all contractual and other legal obligations and fully complied with all conditions
  6   precedent to bringing this action or all such obligations or conditions are excused.
  7                               REQUEST FOR JURY TRIAL
  8             99.   Plaintiff requests a trial by jury as to all claims so triable.
  9                                   PRAYER FOR RELIEF
 10             100. Plaintiff, on behalf of himself and the Class, requests the following
 11   relief:
 12                   (a)   An order certifying the Class and appointing Plaintiff as
 13                         Representative of the Class;
 14                   (b)   An order certifying the undersigned counsel as Class Counsel;
 15                   (c)   An order requiring Defendant, at its own cost, to notify all
 16                         Class Members of the unlawful and deceptive conduct herein;
 17                   (d)   An order requiring Defendant to engage in corrective
 18                         advertising regarding the conduct discussed above;
 19                   (e)   Actual damages suffered by Plaintiff and Class Members as
 20                         applicable or full restitution of all funds acquired from Plaintiff
 21                         and Class Members from purchase of the Class Products and
 22                         the charging fees and taxes thereto, during the relevant class
 23                         period;
 24                   (f)   Punitive damages, as allowable, in an amount determined by
 25                         the Court or jury;
 26                   (g)   Any and all statutory enhanced damages;
 27                   (h)   All reasonable and necessary attorneys’ fees and costs provided
 28

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  1                     by statute, common law or the Court’s inherent power;
  2               (i)   Pre- and post-judgment interest; and
  3               (j)   All other relief, general or special, legal and equitable, to which
  4                     Plaintiff and Class Members may be justly entitled as deemed
  5                     by the Court.
  6

  7
      Dated: February 26, 2018       Respectfully submitted,

  8                                  LAW OFFICES OF TODD M. FRIEDMAN , PC
  9

 10                                        By: /s Todd. M. Friedman
 11                                            TODD M. FRIEDMAN, ESQ.
 12                                             Attorney for Plaintiff ERIN L. PERRY

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